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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )           4:04CR3156
                                        )
            Plaintiff,                  )
                                        )
vs.                                     )           ORDER
                                        )
JOE DELGADO,                            )
                                        )
            Defendant.                  )

      IT IS ORDERED that the defendant’s motion to continue date to file objections
to presentence report (filing 111) is granted. The defendant’s objections are due
December 12, 2005.

      December 9, 2005.                     BY THE COURT:

                                            s/ Richard G. Kopf
                                            United States District Judge
